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 1
                                                              CHIEF JUDGE RICARDO S. MARTINEZ
 2

 3

 4

 5

 6

 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE
 9   SMARTWINGS, A.S., a Czech Republic                   Case No. 2:21-cv-00918-RSM
     Company,
10                                                        STIPULATED AGREEMENT
                                         Plaintiff,       REGARDING DISCOVERY OF
11                                                        ELECTRONICALLY STORED
               v.                                         INFORMATION
12
     THE BOEING COMPANY, a Delaware                       AND
13   Corporation,
                                                          ORDER
14                                     Defendant.
                                                          NOTE ON MOTION CALENDAR:
15                                                        November 2, 2021
16
              The parties hereby stipulate to the following provisions regarding the discovery of
17
     electronically stored information (“ESI”) in this matter:
18
              A.        General Principles
19
              1.        An attorney’s zealous representation of a client is not compromised by conducting
20
     discovery in a cooperative manner. The failure of counsel or the parties to litigation to cooperate
21
     in facilitating and reasonably limiting discovery requests and responses raises litigation costs and
22
     contributes to the risk of sanctions.
23
              2.        As provided in LCR 26(f), the proportionality standard set forth in Fed. R. Civ. P.
24
     26(b)(1) must be applied in each case when formulating a discovery plan. To further the application
25

26
     STIPULATED ESI PROTOCOL - 1
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 1   of the proportionality standard in discovery, requests for production of ESI and related responses
 2   should be reasonably targeted, clear, and as specific as possible.
 3             3.       Nothing in this Order shall preclude the producing party from collecting or
 4   producing additional materials beyond those identified pursuant to the procedure described herein.
 5             4.       The parties agree that the producing party is under no obligation to identify the
 6   request for production to which a particular document is responsive, nor is the producing party
 7   obligated to identify (by Bates Numbers or otherwise) which documents are being produced in
 8   response to a particular request for production.
 9             B.       ESI Disclosures
10             1.       Within 14 days of entry of either (i) a final order denying Boeing’s Motion for
11   Protective Order (ECF No. 18, “PO Motion”), or (ii) if the PO Motion is granted, a final order
12   denying (in whole or part) the Motion to Dismiss (ECF No. 15),1 each party shall disclose:
13                      a.     Custodians. The ten custodians most likely to have discoverable ESI in their
14   possession, custody, or control. The custodians shall be identified by name, title, connection to the
15   instant litigation, and the type of information under the custodian’s control. A party may identify
16   fewer than ten custodians if the party determines in good faith and in compliance with Fed. R. Civ.
17   P. 26 that fewer custodians possess discoverable ESI.
18                      b.     Non-custodial Data Sources. A list of non-custodial data sources (e.g.,
19   shared drives, servers), if any, most likely to contain discoverable ESI.
20                      c.     Third-Party Data Sources. A list of third-party data sources, if any, likely to
21   contain discoverable ESI (e.g., third-party email providers, mobile device providers, cloud storage)
22   and, for each such source, the extent to which a party is (or is not) able to preserve information
23   stored in the third-party data source.
24

25

26   1
         The parties may mutually agree to different time periods than those set forth in this ESI protocol.
     STIPULATED ESI PROTOCOL - 2
     No. 2:21-cv-00918-RSM


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 1                      d.     Inaccessible Data. A list of data sources, if any, likely to contain
 2   discoverable ESI (by type, date, custodian, electronic system or other criteria sufficient to
 3   specifically identify the data source) that a party asserts is not reasonably accessible under Fed. R.
 4   Civ. P. 26(b)(2)(B).
 5            2.        Foreign data privacy laws. Nothing in this Order is intended to prevent either party
 6   from complying with the requirements of a foreign country’s data privacy laws, e.g., the European
 7   Union’s General Data Protection Regulation (GDPR) (EU) 2016/679. The parties agree to meet
 8   and confer before including custodians or data sources subject to such laws in any ESI disclosure
 9   or other discovery request.
10            3.        Additional Custodians and Sources. Any other party may identify additional
11   custodians or non-custodial data sources that may have relevant information related to the claims
12   or defenses to be collected, searched, and/or produced. If a producing party declines to include in
13   the collection process any custodian or data source identified by another party, the matter shall be
14   disclosed to the requesting party and may be submitted to the Court for determination.
15            4.        Duty to Supplement. The parties shall timely supplement their disclosures to the
16   extent new custodians or non-custodial data sources are identified.
17            5.        Other Disclosures. Upon reasonable request, a party shall disclose information
18   relating to network design, the types of databases, database dictionaries, the access control list and
19   security access logs and rights of individuals to access the system and specific files and
20   applications, the ESI document retention policy, organizational chart for information systems
21   personnel, or the backup and systems recovery routines, including, but not limited to, tape rotation
22   and destruction/overwrite policy.
23            C.        ESI Discovery Procedures
24            1.        On-site inspection of electronic media. Such an inspection shall not be required
25   absent a demonstration by the requesting party of specific need and good cause or by agreement
26   of the parties.
     STIPULATED ESI PROTOCOL - 3
     No. 2:21-cv-00918-RSM


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 1            2.        Search methodology. The parties shall timely confer to attempt to reach agreement
 2   on appropriate search terms and queries, file type and date restrictions, data sources (including
 3   custodians), and other appropriate computer- or technology-aided methodologies, before any such
 4   effort is undertaken. The parties shall continue to cooperate in revising the appropriateness of the
 5   search methodology.
 6                      a.     Prior to running searches.
 7                             i.     Within 21 days of submitting responses and objections to any
 8   request for production, the producing party shall disclose the data sources (including custodians),
 9   search terms and queries, any file type and date restrictions, and any other methodology that it
10   proposes to use to locate ESI likely to contain responsive and discoverable information (the
11   producing party’s “Initial Search Terms or Queries”). The producing party may provide unique hit
12   counts for each search query. The producing party shall make a good faith effort to propose Initial
13   Search Terms or Queries and data sources proportional to each of the requesting party’s requests
14   for production.
15                             ii.    The requesting party is entitled to, within 14 days of the producing
16   party’s disclosure, add (1) no more than 20 search terms or queries to the Initial Search Terms or
17   Queries disclosed by the producing party and (2) no more than five total additional Custodians or
18   non-custodial data sources, provided that the addition of terms, Custodians, or sources is not overly
19   burdensome. The parties may request relief from the Court on a showing of good cause as to any
20   Initial Search Terms or Queries in dispute or the need for additional Initial Search Terms or Queries
21   or data sources, including if the producing party’s Initial Search Terms or Queries are not sufficient
22   to account for each of the requesting party’s requests for production.
23                             iii.   The following provisions apply to search terms or queries of the
24   requesting party. Focused terms and queries should be employed; broad terms or queries, such as
25   product and company names, generally should be avoided. A conjunctive combination of multiple
26   words or phrases (e.g., “computer” and “system”) narrows the search and shall count as a single
     STIPULATED ESI PROTOCOL - 4
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 1   search term. A disjunctive combination of multiple words or phrases (e.g., “computer” or
 2   “system”) broadens the search, and thus each word or phrase shall count as a separate search term
 3   unless they are variants of the same word. The producing party may identify each search term or
 4   query returning overbroad results demonstrating the overbroad results, and a counter proposal
 5   correcting the overbroad search or query. A search that returns more than 1,500 unique documents,
 6   excluding families, is presumed to be overbroad.
 7                      b.    Production. The producing party shall begin production of responsive and
 8   discoverable ESI as soon as reasonably practical pursuant to the parties’ chosen discovery methods
 9   (e.g., using ESI tools to make review more efficient) after submitting responses and objections to
10   any request for production, and the parties agree that the productions may be made on a rolling
11   basis, subject to good faith compliance with the discovery cut-off and case schedule.
12                      c.    After production. Within 21 days of the producing party notifying the
13   requesting party that it has substantially completed the production of documents responsive to a
14   request, the requesting party may request no more than 20 additional search terms or queries (the
15   requesting party’s “Additional Search Term or Query”), provided that the addition of terms or
16   queries is not overly burdensome, and either the parties agree to the addition of terms/queries or
17   the requesting party has shown good cause for doing so. The producing party will provide a unique
18   hit count (i.e., documents that do not hit on other search terms or queries, that have not been
19   produced previously, and that have been de-duped within the set) for each Additional Search Term
20   or Query, and the parties will reach an agreement on the Additional Search Terms or Queries to
21   be used before the producing party produces documents hitting on these Additional Search Terms
22   or Queries. In assessing the burden associated with adding search terms or queries, the producing
23   party may consider the unique hit counts. A search that returns more than 1,500 unique documents,
24   excluding families, is presumed to be overbroad.
25            3.        Predictive Coding, Technology Assisted Review, and Advanced Analytics. The
26   parties may use reasonable techniques to further identify relevant or irrelevant documents,
     STIPULATED ESI PROTOCOL - 5
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 1   including, but not limited to, predictive coding, other technology-assisted review, and/or any form
 2   of advanced analytics. If the producing party intends to use such tools, the parties will meet and
 3   confer about the use of such technologies before they are applied to attempt to reach reasonable
 4   agreement in advance of their use. Either party may in good faith request reasonable, non-
 5   privileged, non-work-product information about the software and methodology used for the review
 6   sufficient to evaluate the reasonableness of the review.
 7            4.        Timing.   The parties will make good faith efforts to substantially complete
 8   production related to then-outstanding discovery requests 90 days before the close of fact
 9   discovery to allow the parties to evaluate document productions and serve any follow-up discovery
10   requests or necessary discovery motions within the time allowed for discovery by the Court’s
11   scheduling order.
12            5.        Format.
13                      a.    ESI will be produced to the requesting party with searchable text, in a
14   format to be decided between the parties. Acceptable formats include, but are not limited to, native
15   files, multi-page TIFFs (with a companion OCR or extracted text file), single-page TIFFs (only
16   with load files for e-discovery software that includes metadata fields identifying natural document
17   breaks and also includes companion OCR and/or extracted text files), and searchable PDF. The
18   parties will produce documents in black and white or, if the original file is in color, may produce
19   in color using JPEG format, but either party may reasonably request color production files from
20   the producing party.
21                      b.    Unless otherwise agreed to by the parties, files that are not easily converted
22   to image format, including spreadsheets, slideshows, databases, and drawing files, will be
23   produced in native format. Upon reasonable request, a party should produce a file in a native format
24   that was previously produced as a TIFF file.
25                      c.    Each document image file shall be named with a unique number (Bates
26   Number). When a text-searchable image file is produced, the producing party must take reasonable
     STIPULATED ESI PROTOCOL - 6
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 1   steps to preserve the integrity of the underlying ESI, i.e., the original formatting, the metadata (as
 2   noted below) and, where applicable, the revision history.
 3                      d.   If a document is more than one page, the unitization of the document and
 4   any attachments and/or affixed notes shall be maintained as they existed in the original document.
 5                      e.   The full text of each electronic document shall be extracted (“Extracted
 6   Text”) and produced in a text file. The Extracted Text shall be provided in searchable ASCII text
 7   format (or Unicode text format if the text is in a foreign language) and shall be named with a
 8   unique Bates Number (e.g., the unique Bates Number of the first page of the corresponding
 9   production version of the document followed by its file extension). In the case of files with
10   redacted text, OCR’d text of the redacted documents may be provided in lieu of extracted text,
11   with the exception of spreadsheets.
12                      f.   All productions will be provided with a document-level database load file
13   in standard Concordance (DAT) delimited format. All image data should be delivered with a
14   corresponding image load file in the following format: Opticon (OPT). The total number of image
15   files referenced in the image load file should match the total number of images in the production
16   delivery. “Load file” means a file that relates to a set of scanned images or electronically processed
17   files that indicates where individual pages or files belong together as documents, to include
18   attachments, and where each document begins and ends. A load file may also contain data relevant
19   to the individual documents, such as selected metadata, coded data, and extracted text.
20                      g.   All ESI shall be processed with a single time zone and a date and time
21   setting that is consistent across that party’s productions. The time zone used shall be either Pacific
22   Daylight Time (PDT) or Coordinated Universal Time (UTC).
23                      h.   Notwithstanding the parties’ stipulations herein, upon reasonable request
24   made by the requesting party, the parties shall confer regarding the production in an alternate
25   format of a document previously produced in accordance with this Agreement and Order.
26
     STIPULATED ESI PROTOCOL - 7
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 1            6.        Email Threading. The parties may use analytics technology to identify email
 2   threads and need only produce the unique, most inclusive copy and related family members and
 3   may exclude lesser inclusive copies. Upon reasonable request, the producing party will produce a
 4   less inclusive copy.
 5            7.        De-duplication. The parties may de-duplicate their ESI production across custodial
 6   and non-custodial data sources after disclosure to the requesting party, and the duplicate custodian
 7   information removed during the de-duplication process must be tracked in a duplicate/other
 8   custodian field in the database load file.2 The parties will disclose the methodology used for de-
 9   duplication after reasonable request.
10            8.        Metadata fields. The parties agree to produce the following metadata fields, if
11   associated with the electronic document. The parties are under no obligation to manually populate
12   these fields. Because different platforms use different nomenclature for these metadata fields, the
13   below offers a common name and description, with the expectation that each party produce that
14   field or its substantial equivalent. If any field is impracticable to produce for either party, the party
15   shall disclose the field(s) that they are unable to produce to the opposing party.
16                                                                                           Must be
                        Field Name                        Field Description              Populated for All
17                                                                                         Documents
18
                                                  First Bates Number (Production
         BegBates                                                                                 x
19                                                number) of an item.

20                                                Last Bates Number (Production
                                                  number) of an item.
21       EndBates                                                                                 x
                                                  **The EndBates field should be
22                                                populated for single-page items.
23

24
     2
      ESI shall be filtered for file type using an acceptable industry standard exclusion list or process
25   based on the National Software Reference Library and commonly known as the “NIST List.” The
     parties recognize that to reduce the document review population, additional file types may need to
26   be excluded and shall disclose any additional file types excluded.
     STIPULATED ESI PROTOCOL - 8
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 1
                                                                                   Must be
 2                      Field Name               Field Description             Populated for All
                                                                                 Documents
 3
                                         First Bates Number of attachment
 4
                                         range of family (i.e., Bates
      BegAttach                                                                       x
 5                                       Number of the first page of the
                                         parent document).
 6
                                         Last Bates Number of attachment
 7                                       range of family (i.e., Bates
      EndAttach                                                                       x
                                         Number of the last page of the last
 8                                       attachment in the family).
 9
      PgCount                            Number of pages in the item.                 x
10
                                         Name of person from whose files
      Custodian                                                                       x
11                                       the item is Produced.

12                                       Name of the person(s), in addition
                                         to the Custodian, from whose files x (if deduplicated
13    CustodianOther                     the item would have been             globally (i.e.,
14                                       Produced if it had not been de-      horizontally))
                                         duplicated.
15

16

17

18

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22

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26
     STIPULATED ESI PROTOCOL - 9
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 1
                                                                                  Must be
 2                      Field Name               Field Description            Populated for All
                                                                                Documents
 3
                                        The file path of the document as it
 4
                                        existed at collection.
 5
                                        Note: Producing Party may
 6                                      truncate the file path using a
                                        method reasonably calculated to
 7                                      remove Network-level
                                        identification information such as,
 8                                      without limitation, IP addresses,
 9                                      resolvable server names, and
      FilePath
                                        infrastructure file-path
10                                      information, but excluding
                                        removal of the custodial or shared
11                                      Network drive letter. The parties
                                        understand that collection tools
12                                      may add to or truncate file path
13                                      information, provided however
                                        that collection tools do not
14                                      overwrite the file path
                                        information to be provided.
15
                                        Field designates if a duplicate is
16                                      found
      AllPaths
17
                                        in a different non-custodial source
18
                                        Size (in kilobytes) of the source
      FileSize
19                                      native file.

20    FileName                          File name of document.
21                                      The file extension of the
      FileExt                           document (e.g., doc, nsf, rtf, pdf
22
                                        etc.).
23
      HashValue                         The unique hash value of the file.
24
                                        Unique identifier from email
25    EmailThreadFamilyID               threading algorithm to denote
                                        emails from a single thread.
26
     STIPULATED ESI PROTOCOL - 10
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 1
                                                                                  Must be
 2                      Field Name              Field Description             Populated for All
                                                                                Documents
 3
                                        Type of Outlook item, e.g., email,
 4    EmailOutlookType
                                        calendar item, note, task.
 5
                                        Hyperlink path for documents
 6                                      provided in native format.
      NativeFileLink                                                            x (ESI only)
 7                                      **The linked file must be named
                                        per the BegBates value.
 8
                                        Name of party producing the
 9    SourceParty                                                                    x
                                        item.
10
                                        Date email or calendar item was
      DateSent (mm/dd/yyyy)
11                                      sent.

12                                      Time email or calendar item was
      TimeSent (hh:mmAM/PM)
                                        sent.
13
      DateReceived                      Date email or calendar item was
14
      (mm/dd/yyyy)                      received.
15
      TimeReceived                      Time email or calendar item was
16                                      received.
      (hh:mmAM/PM)
17
                                        First Bates Number for the parent
18                                      item of a family.
19                                      **This field should be populated
20    ParentBates                       for all members of a family.                 x

21                                      **Documents that are not part of
                                        a family should not have this field
22                                      populated.

23

24

25

26
     STIPULATED ESI PROTOCOL - 11
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 1
                                                                                 Must be
 2                      Field Name              Field Description            Populated for All
                                                                               Documents
 3
                                        First Bates Number of each
 4
                                        “child” attachment.
 5
                                        **Can be more than one Bates
      AttachBates                                                                   x
 6                                      Number listed depending on the
                                        number of attachments. If
 7                                      multiple Bates Numbers, separate
                                        by semi-colon (;).
 8
                                        The names and SMTP email
 9
                                        addresses of all recipients that
      To
10                                      were included on the “To” line of
                                        the email or calendar item.
11
                                        The name and SMTP email
12    From                              address of the sender of the email
                                        or calendar item.
13

14                                      The names and SMTP email
                                        addresses of all recipients that
      CC
15                                      were included on the “CC” line of
                                        the email or calendar item.
16
                                        The names and SMTP email
17                                      addresses of all recipients that
      BCC
18                                      were included on the “BCC” line
                                        of the email or calendar item.
19
      DateCreated (mm/dd/yyyy)          Date the item was created.
20
      TimeCreated (hh:mm AM/PM)         Time the item was created.
21
                                        The filename of the source native
22    FileName
                                        file for an ESI item.
23
      Date Modified                     Date the item was modified.
24
      Time Modified                     Time the item was last modified.
25

26
     STIPULATED ESI PROTOCOL - 12
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 1
                                                                                  Must be
 2                      Field Name               Field Description            Populated for All
                                                                                Documents
 3
                                        Any value populated in the
 4
                                        subject field of the source file
 5    Subject                           metadata or document properties
                                        (e.g., subject line of email or
 6                                      calendar item).

 7                                      Full relative path to the current
      TextPath                          location of the document-level
 8                                      text file.
 9
                                        Indicates if a document has been
10                                      redacted for privilege or if a
      Privilege
                                        member of a document family has
11                                      been withheld for privilege.
12                                      Indicates if a document is subject
      Export Controlled
                                        to export controls under U.S. law.
13

14                                      Indicates if item has been
                                        designated as “Confidential” or
      Confidentiality                                                                x
15                                      “Attorneys’ Eyes Only” under the
                                        parties’ protective order.
16
                                        Bates Number of the first page of
17                                      the parent item to the Bates
      AttachRange                                                                    x
18                                      Number of the last page of the last
                                        attachment “child” item.
19
                                        To indicate “Paper,” “Hard
20                                      Copy,” or “HC” if a hard copy
      RecordType                                                                     x
                                        document and “ESI” if it is an ESI
21                                      item.
22
                                        Indicates software application that
23    Application                       generated the ESI item (e.g.,
                                        Outlook, Word).
24
                                        Production volume name or
25    Production Volume                                                              x
                                        number.
26
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 1
                                                                                             Must be
 2                      Field Name                        Field Description              Populated for All
                                                                                           Documents
 3
                                                  User-generated field that will
 4
                                                  indicate redactions. “X,” “Y,”
 5    Redacted                                    “Yes,” “True,” are all acceptable             x
                                                  indicators that the document is
 6                                                redacted. Otherwise, blank.

 7                                                The unique message identifier
      MessageID                                   generated by the source email or
 8                                                calendar system.
 9
                                                  The message ID of the previous
10                                                message in the email thread (the
      PrevMessageID
                                                  message that was replied to or
11                                                forwarded).
12                                                Any value populated in the title
      Title                                       field of the source file metadata or
13
                                                  item properties.
14
                                                  Creator of the document; any
15                                                value populated in the author field
      Author
                                                  of the source file metadata or
16                                                document properties.
17
              9.        Parent-Child Relationships. Parent-Child relationships (the association between an
18
     attachment and its parent document) must be preserved so a document and any attachments to that
19
     document are produced in the same production set and such relationships are identifiable.
20
              10.       Hard-Copy Documents. If the parties elect to produce hard-copy documents in an
21
     electronic format, the production of hard-copy documents will include, if needed, a cross-reference
22
     file that indicates document breaks, attachments, and sets forth the custodian or custodian/location
23
     associated with each produced document. Hard-copy documents will be scanned using Optical
24
     Character Recognition (OCR) technology and searchable ASCII text files will be produced (or
25
     Unicode text format if the text is in a foreign language), unless the producing party can show that
26
     the cost would outweigh the usefulness of scanning (for example, when the condition of the paper
     STIPULATED ESI PROTOCOL - 14
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 1   is not conducive to scanning and will not result in accurate or reasonably useable/searchable ESI).
 2   Each file will be named with a unique Bates Number (e.g., the unique Bates Number of the first
 3   page of the corresponding production version of the document followed by its file extension).
 4            D.        Preservation of ESI
 5            The parties acknowledge that they have a common law obligation, as expressed in Fed. R.
 6   Civ. P. 37(e), to take reasonable and proportional steps to preserve discoverable information in the
 7   party’s possession, custody, or control. With respect to preservation of ESI, the parties agree as
 8   follows:
 9            1.        Absent a showing of good cause by the requesting party, the parties shall not be
10   required to modify the procedures used by them in the ordinary course of business to back-up and
11   archive data; provided, however, that the parties shall preserve all discoverable ESI in their
12   possession, custody, or control.
13            2.        The parties will supplement their disclosures in accordance with Fed. R. Civ. P.
14   26(e) with discoverable ESI responsive to a particular discovery request or mandatory disclosure
15   where that data is created after a disclosure or response is made (unless excluded under Sections
16   (D)(3) or (E)(1)–(2)).
17            3.        Absent a showing of good cause by the requesting party, the following categories
18   of ESI need not be preserved:
19                      a.     Deleted, slack, fragmented, or other data only accessible by forensics.
20                      b.     Random access memory (RAM), temporary files, or other ephemeral data
21                             that are difficult to preserve without disabling the operating system.
22                      c.     On-line access data such as temporary internet files, history, cache, cookies,
23                             and the like.
24                      d.     Data in metadata fields that are frequently updated automatically, such as
25                             last-opened dates.
26                 e.    Back-up data that are duplicative of data that are more accessible elsewhere.
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 1                      f.     Server, system, or network logs.
 2                      g.     Data remaining from systems no longer in use that is unintelligible on the
 3                             systems in use.
 4                      h.     Electronic data (e.g., email, texts, calendars, contact data, and notes) sent to
 5                             or from mobile devices (e.g., iPhone, iPad, Android devices), provided that
 6                             a copy of all such electronic data is automatically saved in real time and
 7                             accessible elsewhere (such as on a server, laptop, desktop computer, or
 8                             “cloud” storage).
 9            E.        Privilege
10            1.        A producing party shall create a privilege log of all documents fully withheld from
11   production on the basis of a privilege or other lawful protection, unless otherwise agreed or
12   excepted by this Agreement and Order. Privilege logs shall include a unique identification number
13   for each document and a description of the basis for the claim (e.g., attorney-client privileged or
14   work-product protection). For ESI, the privilege log may be generated using available metadata,
15   including author/recipient or to/from/cc/bcc names; the subject matter or title; and date created,
16   but the producing party also must describe in the log the basis for the claim. The parties will in
17   good faith endeavor to produce privilege logs not later than 45 days after each production or as the
18   parties may otherwise agree. The parties will in good faith endeavor to produce all privilege logs
19   in this case no less than 45 days before the close of fact discovery to allow the parties to evaluate
20   privilege logs and conduct any necessary meet and confers or motions practice within the time
21   allowed for discovery by the Court’s scheduling order. This provision is without prejudice to a
22   party’s right to request any extension of discovery deadlines or the rescheduling or renoticing of
23   depositions, should production of logs after substantial completion delay discovery in this matter.
24   If the requesting party, in good faith, has reason to believe a particular entry does not reflect
25   privileged discoverable information, the requesting party may request, and the producing party
26   will not unreasonably refuse to create, a supplemental privilege log entry in compliance with Fed.
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 1   R. Civ. P. 26(b)(5). The parties will discuss and consider all reasonable extension requests in good
 2   faith.
 3            2.        The parties shall log redactions and explain the basis for the redaction in the log.
 4   The parties need not log those redactions for which the context of the document makes the basis
 5   of the redaction clear. A party may not redact information on the basis it believes it to be irrelevant
 6   or confidential. Unless otherwise agreed to by the parties, redactions should only be made for legal
 7   privilege or legally protected private information, such as Social Security Numbers, information
 8   protected from disclosure under HIPAA, and other information prohibited from disclosure by law.
 9            3.        A party that withholds any document entirely on the basis of privilege shall produce
10   a Bates numbered placeholder page/slip sheet that contains the following language: “Document
11   Withheld on the Basis of Privilege.” A party may withhold wholly privileged members of a family
12   group so long as the party inserts a slip sheet in place of the withheld document indicating that it
13   has been “Withheld for Privilege” and logs such attachments in a privilege log in accordance with
14   the requirements of this protocol. Slip sheets need not be produced for wholly-privileged document
15   families withheld in their entirety.
16            4.        With respect to privileged or work-product information generated after the filing of
17   the complaint and any amendments, parties are not required to include any such information in
18   privilege logs.
19            5.        Activities undertaken in compliance with the duty to preserve information are
20   protected from disclosure and discovery under Fed. R. Civ. P. 26(b)(3)(A) and (B).
21            6.        Pursuant to Fed. R. Evid. 502(d), the production of any documents in this
22   proceeding shall not, for the purposes of this proceeding or any other federal or state proceeding,
23   constitute a waiver by the producing party of any privilege applicable to those documents,
24   including the attorney-client privilege, attorney work-product protection, or any other privilege or
25   protection recognized by law. Information produced in discovery that is protected as privileged or
26
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 1   work product shall be returned to the producing party as described in the Stipulated Protective
 2   Order (Dkt. No. 66), and its production shall not constitute a waiver of such protection.
 3            F.        Modifications
 4            Any practice or procedure set forth herein may be varied by agreement of the parties,
 5   confirmed in writing, where such variance is deemed appropriate under the circumstances, or by
 6   order of the Court.
 7

 8   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 9
                                                 LANE POWELL PC
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12   DATED: 11-02-21                             By:   s/ Callie A. Castillo
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 1
                                          PERKINS COIE LLP
 2

 3

 4   DATED: 11-02-21                      By:   s/ Ulrike B. Connelly
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 5                                              Harry H. Schneider, Jr., WSBA No. 9404
                                                Eric J. Weiss, WSBA No. 44807
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12                                        Attorneys for Defendant The Boeing Company
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     STIPULATED ESI PROTOCOL - 19
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 1            Based on the foregoing, IT IS SO ORDERED.
 2

 3            DATED this 3rd day of November, 2021.
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 7                                             A
                                               RICARDO S. MARTINEZ
 8                                             CHIEF UNITED STATES DISTRICT JUDGE
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27   STIPULATED ESI PROTOCOL - 1
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